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               EXHIBIT 18
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                                   Listen to music on Google           50-20
                                                             Nest and Google       Filedand
                                                                             Home speakers 02/18/21
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         Listen to music on Google Nest and Google Home
         speakers and displays
         Enjoy music from popular music services by artist, song, genre, album, playlist, mood, or activity.

         Whether a single person or multiple people are using a Google Nest or Google Home speaker or display,
         each person can link only single account per streaming service.

         You'll hear different music based on the partner and your subscription.

         Note: Some of these partners may be unavailable in your region. Contact the partner to check their
         availability where you live.

            • Spotify Free, YouTube Music, Google Play Music Free (available in the US, Canada and India only),
              Pandora - You'll hear a station of songs inspired by the song, album or artist you requested (free radio
              service).
            • Spotify Premium, YouTube Premium, YouTube Music Premium, Google Play Music Premium, Pandora
              Premium, Deezer Premium - You'll hear speci c songs, albums or artists along with music based on
              genre, mood or activity or your personal playlists.

         Note: If Digital Wellbeing is enabled, this feature may be restricted or blocked by Downtime, Filters, or Do
                                              ISl




         not disturb. Please go here      for more information on Digital Wellbeing.



         Basic voice commands for all content providers
             To do this...                                              Say "Ok Google" or “Hey Google,” then...

             Request a song                                             "Play <song name>," "Play <song name> by <artist
                                                                        name>," "Play <song name> from <album name>,"
                                                                        “Play <song name> on <music service>” "Play
                                                                        songs like <song-name>"

             Request an artist                                          "Play <artist name>," "Play music by <artist
                                                                        name>," "Play <artist name>" on <music
                                                                        service>,” "Play songs like <artist-name>"

             Request an album                                           "Play <album name>", "Play <album name> by
                                                                        <artist name>", "Play <album name> by <artist
                                                                        name> on <music service>”

             Play music based on genre/mood/activity                    "Play classical music", "Play happy music", "Play
                                                                        music for cooking", “Play <genre> on <music
                                                                        service>”

             Play personalized suggested content from                   "Play some music", “Play <genre> music on
             chosen service                                             <music service>”

             Shu e                                                      "Shu e"
                                                                        "Shu e <album>"
                                                                        "Shu e some music"
                                                                        "Play <album> and shu e"
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                                                                         Play <album> and shu e
                                                                        "Play <album> shu ed"
                                                                        "Play <album> on shu e"

                                                                        You can also use an artist or playlist name instead
                                                                        of an album name.

            Pause                                                       "Pause", "Pause the music"

            Resume                                                      "Resume", "Continue playing"

            Stop                                                        "Stop ", "Stop the music"

            Play next song                                              “Next”, “Skip”, "Next song"

            What’s playing                                              “What’s playing?”, “What song is playing?”, “What
                                                                        artist is playing?”
                                 ISi




            Control volume                                              "Set volume to 5", "Set volume to 40%"

            Play music on your speakers, TV, or video                   "Play music on my living room TV", "Play <genre>
            device. Note: You must use a Chromecast,                    on my bedroom speakers"
            Chromecast built-in TV or Assistant built-in TV
            that is linked to Google Home.

            Play music on a speaker group                               “Play music on all speakers”

                                                                        Note: Set up a speaker group in the Google Home
                                                                        app to enable this feature.




         Advanced voice commands for free and subscription
         services
         Note: Some of these partners may be unavailable in your region. Contact the partner to check their
         availability where you live.


            Spotify (Free and Premium)                                                                                         <
                                                                                                                               <

            YouTube Music (Free and Premium)


            Google Play Music (free radio service (US, Canada and India only) & subscription
                                                                                                                               <




            service)
                                                                                                                               <




            Pandora (Free and Premium) (U.S. only)


            Deezer (A Deezer Premium or Deezer Family subscription is required to play music
                                                                                                                               <




            using Google Nest and Home devices. Deezer Free is not supported. )


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         Listen to music with Voice Match
         If you've set up Voice Match , guests and housemates can't currently access your library
         content. However, you can give them access by uploading your music to their account.

         If you haven't set up Voice Match, guests and housemates can access music from your library.

         Here's more information on media and multiple users.



         Set your default music service on your speaker or display
         Here’s how to connect your music and pick a favorite music service as your default. This default service
         will be used rst when possible.


            Select your default music service on your speaker or display                                                       V




         Other ways to control music
            From the Google Nest or Google Home device



                         Google Home


                         To do           Touch Google Home like this:                                                Image
                         this:

                         Play,           Tap once on the top of the device.
                         pause, or
                         stop
                         alarm or
                         timer

                         Turn up         Swipe clockwise on the top of the device.
                         the
                         volume          Note: This only adjusts the volume of media. You can adjust
                                         alarms and timers volume anytime in the Google Home app.


                         Turn            Swipe counterclockwise on the top of the device.
                         down the
                         volume          Note: This only adjusts the volume of media and your Google
                                         Assistant. At volume level 0, all media will be muted but your
                                         Google Assistant will still speak at a minimum level. It doesn’t
                                         adjust the volume of alarms and timers.


                         Start your      Press and hold down on the top of the device.
                         request
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                        I   request       I                                                                              ~               I

                            II                                                                                                       -

                            Mic               Press the microphone mute button on the back of the device.
                            on/off
                                              Note: Muting the microphone prevents Google Home from
                                              listening or responding. To interact with Google Home, the
                                              microphone must be on.
                                                                                                                      -~
                            Factory           Press and hold the factory reset button located on the back of
                            reset the
                            device
                                              Google Home.
                                                                                                                         ~
                            Turn off          Unplug power cable from Google Home.                                   •
                    I       power                                                                                        -
                                                                                                                         .
                                                                                                                                 -




                            Google Nest Mini (2nd gen)                                                                       A




                        Note: The Google Nest Mini (2nd gen) has a wall mount screw slot on the back. If your
                        device doesn’t have a wall mount screw slot, it is a Google Home Mini (1st gen).

                            To do this:        Touch Google Nest Mini like this:                        Image

                            Play, pause, Tap the center of the Nest Mini.
                            or stop
                            media or
                            end a
                            current
                            phone call


                            Stop a             Tap the center of the Nest Mini.
                            ringing
                            alarm or
                            timer



                            Turn up the        Tap the right side of the Nest Mini.
                            volume
                                               10 total taps will be maximum volume.

                                               Note: This only adjusts the volume of media and your
                                               Google Assistant. At volume level 0, all media will be
                                               muted but your Google Assistant will still speak at a
                                               minimum level. It doesn’t adjust the volume of alarms
                                               and timers.

                                               To reverse controls, open the Home app 0 > tap
                                               your device > Settings 0 > Reverse device
                                               controls.
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                         Turn down         Tap on the left side of the Nest Mini.
                         the volume
                                           10 total taps will mute all audio except your Google
                                           Assistant.

                                           Note: This only adjusts the volume of media and your
                                           Google Assistant. At volume level 0, all media will be
                                           muted but your Google Assistant will still speak at a
                                           minimum level. It doesn’t adjust the volume of alarms
                                           and timers.

                                           To reverse controls, open the Home app 0 > tap
                                           your device > Settings 0 > Reverse device
                                           controls.


                         Turn mic          Toggle the mic on/off switch found next to the power
                         on/off            cord. The switch will display orange when the
                                           microphone is turned off.

                                           Note: Turning off the microphone prevents Nest Mini
                                           from listening or responding. To interact by voice with
                                           Nest Mini, the microphone must be on.
                                                                                                             u
                         Factory           Turn the mic off, then press and hold the lights in the
                         reset the         center of the Nest Mini.
                         device
                                           Hold for about 15 seconds.




                         Turn off
                         power
                                           Unplug the power cable from Nest Mini.
                                                                                                                  t

                                                                      ___                          _J
                                                                                                             Q
                         Start your        Note: You can't press and hold the top of the Nest
                         request           Mini to start a request with your Assistant.

                                           Instead, say "Ok Google" to start your request.




                         Google Home Mini (1st gen)


                         To do this:          Touch Google Home Mini like this:                                   Image

                         Play, pause,         Press and hold either side of Home Mini.
                         or stop
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                         media or end
                         a current
                         phone call


                         Stop a        Press and hold either side of Home Mini.
                         ringing alarm
                         or timer


                         Turn up the          Tap on right side of Home Mini.
                         volume
                                              To reach maximum volume, tap to volume level 10.

                                              Note: This only adjusts the volume of media and your Google
                                              Assistant. At volume level 0, all media will be muted but your
                                              Google Assistant will still speak at a minimum level. It
                                              doesn’t adjust the volume of alarms and timers.


                         Turn down            Press and hold left side of Home Mini.
                         the volume
                                              10 total taps will mute all audio except your Google
                                              Assistant.

                                              Note: This only adjusts the volume of media and your Google
                                              Assistant. At volume level 0, all media will be muted but your
                                              Google Assistant will still speak at a minimum level. It
                                              doesn’t adjust the volume of alarms and timers.


                         Turn mic


                                                                                                                   u
                                              Toggle the mic on/off switch found next to the power cord.
                         on/off               The switch will display orange when the microphone is
                                              turned off.

                                              Note: Turning off the microphone prevents Home Mini from
                                              listening or responding. To interact with Home Mini, the
                                              microphone must be on.


                         Factory reset        Press and hold the factory reset button located below the
                         the device           power cord on the bottom of Home Mini. Look for a circle
                                              etched into the base.

                                              Hold for about 12 seconds.


                         Turn off             Unplug the power cable from Home Mini.
                         power




                         Start your           Note: You can't press and hold the top of Home Mini to start
                         request              a request with your Assistant.

                                              Instead, say "Ok Google" to start your request.
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                            Google Home Max

                         To do        Touch Google Home Max like this:                                      Image
                         this:

                         Play,
                         pause,
                         or stop
                                      Horizontal placement: Tap the line located on the top of Max.

                                      Vertical placement: Tap the line located on the right side of
                                                                                                              g          i
                                      Max.                                                                   ,.          .,,,_
                         media.

                         Stop a                                                                                                - i
                         ringing
                         alarm
                         or                                                                                  '
                         timer

                         End a
                         call


                         Turn up Horizontal placement: Swipe from left to right along the line
                         the     located on the top of Max.
                                                                                                              I      -
                                                                                                                               ·fj
                         volume
                                                                                                              "
                                                                                                             ,c,
                                                                                                                               I
                                                                                                                               ~
                                                                                                                                       ~

                                 Vertical placement: Swipe up along the line located on the
                                 right side of Max.                                                                                  'i:?
                                                                                                              ,      -"
                                                                                                                               - -9


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                                                                                                                                     Es




                         Turn         Horizontal placement: Swipe from right to left along the line
                         down         located on the top of Max.
                                                                                                                     -         i_J
                                                                                                                               I
                         the                                                                                 ,c,               ~
                                                                                                                                       <'

                         volume       Vertical placement: Swipe down along the line located on the
                                      right side of Max.                                                             -..,,,_
                                                                                                                                     'i:?
                                                                                                             I'
                                                                                                                               -~

                                                                                                                   -- ..             Es




                         Turn
                         mic
                         on/off
                                      Toggle the mic on/off switch located on the back of Max. The
                                      switch will display orange when the microphone is turned off.
                                      You can’t use your voice or the Google Home app to turn
                                                                                                                 LJ
                                      on/off the mic.

                                      Note: Turning off the microphone:

                                                  t G
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                     I       I • prevents Google Home from listening or responding. To                         I                         I

                                           interact with Google Home, the microphone must be on.
                                       • turns off Room EQ.

                             Factory Press and hold the factory reset button located above the
                             reset
                             the
                                     power cord on the back of Max. Look for a small grey button.                D
                             device Hold for about 12 seconds.

                             Turn      Unplug the power cable from Max.

                    I        off
                             power


                                 Google Nest Hub                                                                                     A



                        I                                                                  I                                             I
                             To do this:      Touch Google Nest Hub like this:                 Image
                        '
                             Turn up the      Press the upper volume button on the
                             volume           back of Google Nest Hub.
                                                                                                  r                         -,

                                                                                                 Q

                                                                                                 l
                             Turn down        Press the lower volume button on the
                    I
                             the volume       back of Google Nest Hub.

                                                                                                 r
                                                                                                 6
                                                                                                 \...t                       J




                        ...
                         ~ Google Nest Hub Max
                         "---'
                                                                                                                                     A


                         '

                             To do this:      Touch Nest Hub Max like this:                Image

                             Turn up the      Press the upper volume button on the
                             volume           back of Nest Hub Max.

                                                                                                                                 l
                                                                                                 Q                      I




                    I   I                                                                        I                               I       I

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                                                                                            "----i



                         Turn down            Press the lower volume button on the
                         the volume           back of Nest Hub Max.

                                                                                            r,
                                                                                            C>
                                                                                            "----i                  _.,,




                          Google Nest Wi point



                         To do this:       Touch Nest Wi point like this:                             Image


                         Play, pause, Tap the center of the Nest Wi point.
                         or stop
                         media or
                         end a
                         current
                         phone call


                         Stop a            Tap the center of the Nest Wi point.
                         ringing
                         alarm or
                         timer



                         Turn up the       Tap on the right side of the Nest Wi point.
                         volume
                                           10 total taps will be maximum volume.

                                           Note: This only adjusts the volume of media and your
                                           Google Assistant. At volume level 0, all media will be
                                           muted but your Google Assistant will still speak at a
                                           minimum level. It doesn’t adjust the volume of alarms
                                           and timers


                         Turn down         Tap on the left side of the Nest Wi point.
                         the volume
                                           10 total taps will mute all audio except your Google
                                           Assistant.

                                             N t Thi
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                                           Note: This only adjusts the volume of media and your
                                           Google Assistant. At volume level 0, all media will be
                                           muted but your Google Assistant will still speak at a
                                           minimum level. It doesn’t adjust the volume of alarms
                                           and timers.


                         Turn mic          Toggle the mic on/off switch found next to the power
                         on/off            cord. The switch will display orange when the
                                           microphone is turned off.

                                           Note: Turning off the microphone prevents Nest Wi
                                           point from listening or responding. To interact by
                                           voice with your Nest Wi point, the microphone must
                                           be on.


                         Turn off
                         power
                                           Unplug the power cable from Nest Wi point.
                                                                                                                  t
                                                                                                            ..•:-·· ::.

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                                                                                                              ·:::::::·-·------··



                         Start your        Note: You can't press and hold the top of a Nest Wi
                         request           point to start a request with your Assistant.

                                           Instead, say "Ok Google" to start your request.




             From the Google Home app

               1. Make sure your mobile device or tablet is connected to the same Wi-Fi as your speaker or display.
               2. Open the Google Home app                   .
               3. Tap Play music under the name of the device you want to use.

              Your device will play music from your default music provider. You can pause, resume, change volume
              and skip forward or backward in the song.




         Troubleshooting
            1. Make sure your music provider accounts are linked to your speaker or display. l2l
            2. If you're not hearing the music you expect, be more speci c with your request.
               a. Add “...by <Artist>” to your request . (Example: "Ok, Google. Play a song by Sia.")
               b. Add "... album, playlists, song" to your request. (Example: “Ok, Google. Play my morning rock
                  playlist.”

            3. If you want to listen to music that's not from your default service, add “...on <music service>” to your
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             request.




         Related Links
         Play audio on speakers and TVs from Google Nest or Home devices IZl
         Play video on TVs from Google Nest or Home devices IZl
         Play Android Audio on Google Nest or Home devices IZl
         Play media from Chromecast-enabled apps to Google Nest or Home devices IZl
         Listen to radio IZl
         Listen to podcasts IZl
         Control restricted content on Google Nest or Home devices IZl




                                                              Was this helpful?


                                                             Yes           No




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